     Case: 1:19-cr-00277 Document #: 80 Filed: 02/08/21 Page 1 of 1 PageID #:435

                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                 Eastern Division

UNITED STATES OF AMERICA
                                         Plaintiff,
v.                                                       Case No.: 1:19−cr−00277
                                                         Honorable Edmond E. Chang
Concepcion Malinek
                                         Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, February 8, 2021:


         MINUTE entry before the Honorable Edmond E. Chang as to Concepcion
Malinek: Telephone status hearing held. Counsel for the Defendant, government's
counsel, and victim counsel appeared by telephone. In a prior communication with the
courtroom deputy and the government, defense counsel previously waived the Defendant's
appearance for this status hearing. As discussed during the hearing, two of the three
proposed victim−witnesses are authorized to testify by remote means even if their
testimony involves a factual dispute. The Defendant's witnesses may also appear by
remote means or in−person. By 02/12/2021, counsel for the Defendant shall email the
courtroom deputy, with government's counsel copied, to report if defense witnesses will
be appearing in−person or by video. In any event, counsel, victims, witnesses, and any
spectators, visitors, or members of the press are to follow Judge Chang's SAFETY
PROTOCOL FOR BENCH PROCEEDINGS as outlined on his webpage
(https://www.ilnd.uscourts.gov/_assets/_documents/
_forms/_judges/Chang/ORDER_bench_proceedings_proto col_2020_11_19_FINAL.pdf.
Emailed notice (mw, )




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